Case 0-2U-00049-ast DOC 90-14 Filed Ol/lofes Entered Uliloizs 2041744

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Case o-20-06049-aSt DOC 90-14 Filed Ol/lo/Z5 Entered Uliloizs cUl4 1°44

Arvind Walia <awalia@porteck.com>

. -ul Parmar <paul@constellationhealthgroup.com>

Date:

Mon, 19 Jun 2017 08:50:09 -0400

Attachments:

Undertaking Agreement - June 2017.docx (22.39 kB); Arvind Walia Employment Agreement 2017.docx (64.76 kB); MIPA -
Objecttech Holdings LLC.DOCX (155.4 kB); Niknim Management Inc Consulting Agreement.docx (47.97 kB); Notice to Exercise
Option - June 2017.doc (47.62 kB)

Paul
Please see the mark up. Please lets finalize today as I will like to close on this asap for one reason which I will talk to you about today.

Regards
Arvind

Arvind Walia

CEO, Orion Health Corporation
100 Jericho Quadrangle, Ste 235
Jericho, NY 11753
http://www.orionhealthcorp.com/
516-874-8101 (phone)
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Original Message-----
rium: Arvind Walia
Sent: Thursday, June 15, 2017 6:58 PM
To: Paul Parmar (paul@constellationhealthgroup.com)
Subject: FW: various document - marked up

Please see the documents.
Objecttech - 1.52M at closing, 325k for 12% EBITDA anytime upto 6months and 325k for 15% EBTDA anytime upto 12 months.
Employment agreement - stock option participation language, 1 year non compete and state of new York instead of arbitration.

Thanks
Arvind

Arvind Walia

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516-770-6222 (Mobile)

From: Arvind Walia
Thursday, June 8, 2017 7:18 AM
_.. Sam Zaharis'
“Subject: various document - marked up

EHREN-WALIA 004519

Sam
